 1

 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
     WILD FISH CONSERVANCY, a Washington
10   non-profit corporation,                             No. 2:20-cv-00417

11                                  Plaintiff,           COMPLAINT

12          v.

13   BARRY THOM, in his official capacity as
     Regional Administrator of the National Marine
14   Fisheries Service; CHRIS OLIVER, in his
     official capacity as the Assistant Administrator
15   for Fisheries of the National Marine Fisheries
     Service; NATIONAL MARINE FISHERIES
16   SERVICE; WILBUR ROSS, JR., in his
     official capacity as Secretary of the United
17   States Department of Commerce; and
     UNITED STATES DEPARTMENT OF
18   COMMERCE,

19                                  Defendants.

20
                                         I.       INTRODUCTION
21
            1.      In 1995, there were 98 Southern Resident Killer Whales. Today, there are 72. The
22
     Southern Resident Killer Whales have been listed under the Endangered Species Act (“ESA”), 16
23
     U.S.C. §§ 1531–1544, as an endangered species since 2005.
24
            2.      In July of 2018, the nation watched spellbound as one grieving Southern Resident
25
     Killer Whale mother, Tahlequah, carried the body of her dead calf, who had died less than an hour

     after birth, for seventeen days and across hundreds of miles before finally letting him sink. Shortly


     COMPLAINT - 1                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1   thereafter in September, one of the few remaining females of reproductive age, Scarlet, was

 2   presumed dead after disappearing from view. She is believed to have sunk to the seafloor due to

 3   extreme emaciation.

 4          3.      In January and May of 2019, the first two calves to survive more than a few days

 5   after birth since 2015 were born. Despite this glimmer of hope, in August three more Southern

 6   Residents perished. In January of this year, another Southern Resident Killer Whale disappeared

 7   and is believed dead.

 8          4.      The primary cause of this rapid population decline is the declining availability of

 9   Southern Resident Killer Whale’s primary prey, adult Chinook salmon, many populations of

10   which are themselves listed as threatened species under the ESA. This lack of prey has resulted in

11   starvation for existing Southern Residents, and a dearth of live births to sustain the population of

12   Southern Resident Killer Whales. In addition to starvation, the Southern Residents are also

13   adversely and cumulatively affected by toxic contaminants in their environment, vessel noise, and

14   other disturbances.

15          5.      Defendants the Secretary of Commerce and the National Marine Fisheries Service

16   (“NMFS”), to which the Secretary has delegated duties, are responsible for managing fisheries

17   within the Exclusive Economic Zones of the United States. Because Chinook salmon populations

18   are migratory and regularly cross international borders, commercial fishing of Chinook salmon

19   populations has been restricted by the Pacific Salmon Treaty between the United States and

20   Canada since 1985. This Treaty has been regularly renegotiated, including in 1992, 1998, 2008,

21   and 2019. The Pacific Salmon Treaty sets an upper limit on harvest levels in coastal and inland

22   marine waters from Southeast Alaska to Oregon and in the Columbia and Snake Rivers. The

23   fishery regimes established in the 2019 Pacific Salmon Treaty are effective for ten years; through

24   2028. Defendants are empowered to further restrict harvests under applicable federal laws,

25   including as necessary to protect imperiled species under the ESA.

            6.      NMFS recently prepared a biological opinion to consider the effects of its ongoing

     management over, and delegation of certain authority to the State of Alaska for, the salmon

     COMPLAINT - 2                               KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   fisheries within the Exclusive Economic Zone of Southeast Alaska pursuant to the renegotiated

 2   Pacific Salmon Treaty entitled the Endangered Species Act (ESA) Section 7(a)(2) Biological

 3   Opinion and Magnuson-Stevens Fishery Conservation and Management Act Essential Fish

 4   Habitat Response, Consultation on the Delegation of Management Authority for Specified Salmon

 5   Fisheries to the State of Alaska, NMFS Consultation Number: WCR-2018-10660 (April 5, 2019)

 6   (“2019 SEAK BiOp”).

 7          7.      Those fisheries harvest wild- and hatchery-origin salmon originating in rivers from

 8   Oregon to Alaska, including four Chinook salmon evolutionary significant units (“ESU”) that are

 9   listed as threatened under the ESA: Puget Sound Chinook salmon, Lower Columbia River

10   Chinook salmon, Upper Willamette River Chinook salmon, and Snake River fall-run Chinook

11   salmon. These four Chinook salmon ESU’s are failing to meet recovery standards, including those

12   set for spawning escapement, and the fisheries in the Exclusive Economic Zone of Southeast

13   Alaska will continue to contribute to that failure.

14          8.      With respect to the Southern Resident Killer Whale, the 2019 SEAK BiOp did not

15   disguise the issue. It explicitly acknowledged that the Southern Resident Killer Whale has a high

16   risk of extinction due largely to low fecundity rates. It attributed this reduced fecundity to reduced

17   prey abundance; primarily, Chinook salmon. It plainly stated “[u]nder the existing management

18   and recovery regimes over the last decade, salmon availability has not been sufficient to support

19   Southern Resident population growth.” It acknowledged that a recent population viability

20   assessment indicated that effects of prey abundance has the largest impact on the population

21   growth rate and that Chinook abundance would need to increase by 15% to achieve the recovery

22   target growth rate set for the Southern Resident Killer Whale.

23          9.      The 2019 SEAK BiOp explained that attempts were made during the recent

24   negotiations between the United States and Canada that culminated in the 2019 Pacific Salmon

25   Treaty to reduce harvests to conserve the Southern Resident Killer Whale and Puget Sound

     Chinook salmon, but that those efforts were unsuccessful.



     COMPLAINT - 3                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1          10.     The 2019 SEAK BiOp found that Chinook salmon harvests within the Exclusive

 2   Economic Zone of Southeast Alaska contemplated under the 2019 Pacific Salmon Treaty will

 3   continue to reduce Chinook salmon prey available to Southern Resident Killer Whales in various

 4   seasons and locations. NMFS estimated such reductions of prey available in coastal waters to

 5   range from 0.2% to 12.9%, with the greatest reductions occurring in July through September.

 6   Reductions in the inland waters were estimated to range from 0.1% to 2.5%, with the greatest

 7   reductions similarly occurring from July through September. Some of the Chinook salmon caught

 8   in the fishery have been identified by NMFS as priority stocks for Southern Resident Killer

 9   Whales. NMFS estimated that the fisheries in the Exclusive Economic Zone of Southeast Alaska

10   reduce the larger Chinook salmon—those from 3 to 5 years old—from the Southern Resident’s

11   critical habitat by 0.1% to 2.5%. Available data indicate that Southern Resident Killer Whales

12   consume mostly these larger and older Chinook salmon.

13          11.     Instead of reducing the commercial salmon fisheries in the Exclusive Economic

14   Zone of Southeast Alaska to protect Southern Resident Killer Whales and Puget Sound Chinook

15   salmon, the 2019 SEAK BiOp relies on massive new and ill-defined mitigation proposals in a

16   supposed effort to offset negative impacts of reduced prey availability to the Southern Residents.

17   The hypothetical mitigation includes substantial increases in hatchery production of Chinook

18   salmon, primarily in Puget Sound but also in the Columbia River and on the Washington Coast.

19   These mitigation measures are all undeveloped and unfunded. Further, the hatchery programs

20   themselves pose threats to wild salmonids and will suppress recovery of threatened Chinook

21   salmon ESUs, including Puget Sound Chinook salmon. The mitigation measures that the 2019

22   SEAK BiOp relies upon thus require various reviews and authorizations, including under the ESA,

23   before they can be implemented. These mitigation measures therefore may never be implemented

24   or may be substantially altered.

25          12.     NMFS’s 2019 SEAK BiOp nonetheless assumes that the mitigation measures will

     meaningfully increase prey available to Southern Resident Killer Whales to support a conclusion

     that the Southeast Alaska salmon fisheries contemplated under the 2019 Pacific Salmon Treaty

     COMPLAINT - 4                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                      221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                     Portland, Oregon 97214        Seattle, Washington 98154
                                                         (503) 841-6515                  (206) 625-8600
 1   are not likely to jeopardize the continued existence of the Southern Resident Killer Whales or

 2   result in the adverse modification or destruction of its critical habitat. NMFS similarly found that

 3   the fisheries are not likely to jeopardize Puget Sound Chinook salmon, Lower Columbia River

 4   Chinook salmon, Upper Willamette River Chinook salmon, and Snake River fall-run Chinook

 5   salmon. NMFS therefore included an incidental take statement in the 2019 SEAK BiOp

 6   authorizing, without reduction, the full extent of Chinook salmon harvest within the Exclusive

 7   Economic Zone of Southeast Alaska allowed under the 2019 Pacific Salmon Treaty.

 8          13.     Plaintiff Wild Fish Conservancy challenges Defendants’ failure to ensure that their

 9   management and authorization of salmon fisheries within the Exclusive Economic Zone of

10   Southeast Alaska is not likely to jeopardize threatened or endangered species or result in the

11   adverse modification or destruction of such species’ critical habitat as required under section

12   7(a)(2) of the ESA. Wild Fish Conservancy further challenges Defendants’ failure to comply the

13   ESA and the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321–4370m-12, in

14   issuing the 2019 SEAK BiOp. Wild Fish Conservancy seeks declaratory and injunctive relief

15   requiring Defendants to comply with the ESA and NEPA and to protect imperiled Southern

16   Resident Killer Whales and Chinook salmon.

17                                           II.     PARTIES

18          14.     Plaintiff Wild Fish Conservancy is a membership-based 501(c)(3) nonprofit

19   organization incorporated in the State of Washington with its principal place of business in Duvall,

20   Washington. Wild Fish Conservancy is dedicated to the preservation and recovery of

21   Washington’s native fish species and the ecosystems upon which those species depend. Wild Fish

22   Conservancy brings this action on behalf of itself and its approximately 2,400 members. Wild Fish

23   Conservancy changed its name from “Washington Trout” in 2007. As an environmental watchdog,

24   Wild Fish Conservancy actively informs the public on matters affecting water quality, fish, and

25   fish habitat in the State of Washington through publications, commentary to the press, and

     sponsorship of educational programs. Wild Fish Conservancy also conducts field research on wild

     fish populations and has designed and implemented habitat restoration projects. Wild Fish

     COMPLAINT - 5                                 KAMPMEIER & KNUTSEN PLLC            CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1   Conservancy has lobbied, litigated, and publicly commented on federal and state actions that affect

 2   the region’s native fish and ecosystems. Wild Fish Conservancy routinely seeks to compel

 3   government agencies to follow the laws designed to protect native fish species, particularly

 4   threatened and endangered species. Wild Fish Conservancy’s members and representatives have

 5   met, negotiated, and worked closely with NMFS personnel concerning salmon populations,

 6   harvesting, and habitat restoration, and Southern Resident Killer Whales.

 7          15.     Wild Fish Conservancy’s members regularly spend time in areas in and around the

 8   waters occupied by Southern Resident Killer Whales, including waters around the San Juan

 9   Islands, Strait of Juan de Fuca, and along the Pacific Coast. Wild Fish Conservancy’s members

10   also regularly spend time in and around waters occupied by Puget Sound Chinook salmon, Lower

11   Columbia River Chinook salmon, Upper Willamette River Chinook salmon, and Snake River fall-

12   run Chinook salmon. Wild Fish Conservancy’ members intend to continue to visit these areas on

13   a regular basis, including in the coming months and beyond. These members observe, study,

14   photograph, and appreciate wildlife and wildlife habitat in and around these waters. These

15   members also fish in and around these waters. Wild Fish Conservancy’s members would like to

16   fish in these waters for wild Chinook salmon if those species were able to recover to a point where

17   such activities would not impede the species’ conservation and restoration.

18          16.     Wild Fish Conservancy’s members derive scientific, educational, recreational,

19   health, conservation, spiritual, and aesthetic benefits from the Southern Resident Killer Whales

20   and wild native Chinook species in those waters and from the existence of natural, wild and

21   healthy ecosystems.

22          17.     The past, present, and future enjoyment of Wild Fish Conservancy’s interests and

23   those of its members, including the recreational, aesthetic, spiritual, and scientific interests, have

24   been, are being, and will continue to be harmed by Defendants’ failures to comply with the ESA

25   and NEPA as described herein and by Wild Fish Conservancy’s members’ reasonable concerns

     related to Defendants’ violations. These injuries include reduced enjoyment of time spent in and

     around these areas, fewer visits to those areas than would otherwise occur, and refraining from

     COMPLAINT - 6                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1   engaging in certain activities while visiting these areas, such as fishing, than would otherwise

 2   occur. These injures also include an inability or unwillingness to fish for wild salmonids due to

 3   their depressed status.

 4           18.     Wild Fish Conservancy and its members have suffered procedural and

 5   informational harms connected to their substantive, conservation, recreational, and scientific

 6   activities resulting from Defendants’ violations. Wild Fish Conservancy and its members rely, in

 7   part, on adequate ESA consultation and NEPA evaluation processes to provide information,

 8   protect threatened and endangered species, and prevent environmental harms. Defendants’ failure

 9   to comply with these statutes has deprived Wild Fish Conservancy and its members of public

10   comment opportunities and information, thereby harming their efforts to effectively advocate for

11   and protect their interests.

12           19.     Wild Fish Conservancy’s injuries and those of its members are actual, concrete

13   and/or imminent, and are fairly traceable to Defendants’ violations of the ESA and NEPA as

14   described herein that the Court may remedy by declaring that Defendants’ actions are illegal and

15   issuing statutory and injunctive relief vacating Defendants’ actions and requiring Defendants to

16   comply with their statutory obligations.

17           20.     Defendant Barry Thom is the West Coast Regional Administrator of NMFS and is

18   being sued in that official capacity. Regional Administrator Thom has responsibility at the

19   regional level for ensuring that NMFS complies with applicable legal requirements. NMFS’s West

20   Coast Region issued the 2019 SEAK BiOp challenged herein.

21           21.     Chris Oliver is the Assistant Administrator for Fisheries of the NMFS and is being

22   sued in that official capacity. Assistant Administrator Oliver is responsible for ensuring that

23   NMFS complies with applicable legal requirements.

24           22.     Defendant NMFS is an office within the National Oceanic and Atmospheric

25   Administration, which is an agency within the United States Department of Commerce. NMFS

     has been delegated responsibilities by the Secretary of Commerce to manage fisheries and to

     protect imperiled species under the Magnuson-Stevens Fishery Conservation and Management

     COMPLAINT - 7                               KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   Act (“Magnuson-Stevens Act”), 16 U.S.C. §§ 1801–1891d, and the ESA. NMFS issued the 2019

 2   SEAK BiOp challenged herein.

 3          23.     Defendant Wilbur Ross is the Secretary of Commerce and is being sued in that

 4   official capacity. The Secretary is vested with authority to manage fisheries and to protect

 5   imperiled species under the Magnuson-Stevens Act and the ESA. The Secretary has the duty and

 6   authority to conserve and recover the Southern Resident Killer Whales and threatened Chinook

 7   salmon and is responsible for the violations alleged in this case. Secretary Ross is responsible for

 8   ensuring that the United States Department of Commerce, including the agencies within the

 9   Department, complies with applicable legal requirements.

10          24.     The United States Department of Commerce in an executive department of the

11   United States. The Department of Commerce, through its Secretary, is responsible for managing

12   fisheries and protecting imperiled species under the Magnuson-Stevens Act and the ESA.

13                                 III.    JURISDICTION & VENUE

14          25.     This Court has jurisdiction under the Administrative Procedure Act (“APA”), 5

15   U.S.C. §§ 701–706, section 11(g) of the ESA, 16 U.S.C. § 1540(g), and 28 U.S.C. § 1331 (federal

16   question). The requested relief is proper under the ESA, 16 U.S.C. § 1540(g)(1)(A), the APA, 5

17   U.S.C. § 706, 28 U.S.C. § 2201 (declaratory relief), and 28 U.S.C. § 2202 (injunctive relief). As

18   required by the ESA citizen suit provision, 16 U.S.C. § 1540(g)(2)(A)(i), Wild Fish Conservancy

19   provided sixty days’ notice of its intent to sue through a letter dated and postmarked January 9,

20   2020. A copy of that letter is attached as Exhibit 1 to this Complaint.

21          26.     The ESA, 16 U.S.C. § 1540(g)(1)(A), and the APA, 5 U.S.C. § 702, waive the

22   sovereign immunity of the Defendants for these claims.

23          27.     The Western District of Washington is the proper venue under 28 U.S.C. § 1391(e)

24   and 16 U.S.C. § 1540(g)(3)(A) because the violations alleged, and/or substantial parts of the

25   events and omissions giving rise to the claims, occurred and are occurring within such District.

     For example, Defendants actions jeopardize the continued existence of the endangered Southern

     Resident Killer Whales and will adversely modify its critical habitat within the Salish Sea in the

     COMPLAINT - 8                               KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   Western District of Washington. Likewise, Defendants’ actions jeopardize the continued existence

 2   of, among others, threatened Puget Sound Chinook salmon that rear in rivers within the Western

 3   District of Washington. Additionally, the 2019 SEAK BiOp challenged herein requires massive

 4   increases in Chinook salmon production in Puget Sound within the Western District of

 5   Washington, programs that would themselves hinder recovery of the threatened Puget Sound

 6   Chinook salmon ESU.

 7                                              IV.       FACTS

 8   A.      Statutory Background

 9           1.      The Endangered Species Act

10           28.     When Congress enacted the Endangered Species Act, it recognized that some

11   species of fish, wildlife, and plants have been “so depleted in numbers that they are in danger of

12   or threatened with extinction.” 16 U.S.C. § 1531(a)(2). It stated that “these species of fish, wildlife,

13   and plants are of esthetic, ecological, educational, historical, recreational, and scientific value to

14   the Nation and its people.” Id. § 1531(a)(3).

15           29.     Congress enacted the ESA, in part, to provide a “means whereby the ecosystems

16   upon which endangered species and threatened species depend may be conserved.” Id. § 1531(b).

17   The ESA established that it is “the policy of Congress that all Federal departments and agencies

18   shall seek to conserve endangered species and threatened species and shall utilize their authorities

19   in furtherance of the purposes of this Act.” Id. § 1531(c)(1). The ESA defines “conservation” to

20   mean “the use of all methods and procedures which are necessary to bring any endangered species

21   or threatened species to the point at which the measures provided pursuant to this Act are no longer

22   necessary.” Id. § 1532(3).

23           30.     The ESA charges the Secretaries for the United States Departments of Commerce

24   and Interior with administering and enforcing the ESA, who have delegated such responsibilities

25   to NMFS and the United States Fish and Wildlife Service (“FWS”), respectively. 50 C.F.R.

     § 402.01(b). NMFS generally has ESA authority for marine and anadromous species, while FWS

     has jurisdiction over terrestrial and freshwater species. See id. §§ 17.11, 223.102, 224.101.

     COMPLAINT - 9                                 KAMPMEIER & KNUTSEN PLLC               CORR CRONIN, LLP
     Case No. 2:20-cv-00417                           221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                          Portland, Oregon 97214        Seattle, Washington 98154
                                                              (503) 841-6515                  (206) 625-8600
 1           31.     The ESA seeks to protect imperiled species, defined to include a “distinct

 2   population segment of any vertebrate species that interbreeds when mature,” by listing them as

 3   “endangered” or “threatened” and by designating their critical habitat. 16 U.S.C. §§ 1532(16),

 4   1533(a); 50 C.F.R. § 424.02. A species is “endangered” if it “is in danger of extinction throughout

 5   all or a significant portion of its range.” Id. § 1532(6).

 6           32.     Section 9 of the ESA generally makes it unlawful for “any person” to “take” an

 7   endangered species. Id. § 1538(a)(1). The take prohibition has been applied to certain species

 8   listed as threatened under the statute though regulations promulgated by NMFS under section 4(d)

 9   of the ESA, 16 U.S.C. § 1533(d). See 50 C.F.R. §§ 223.102, 223.203(a). Section 9 of the ESA

10   prohibits a violation of those regulations. 16 U.S.C. § 1538(a)(1)(G).

11           33.     A “person” includes private parties as well as local, state, and federal agencies. 16

12   U.S.C. § 1532(13). The ESA defines “take” to mean “harass, harm, pursue, hunt, shoot, wound,

13   kill, trap, capture, or collect, or to attempt to engage in any such conduct.” Id. § 1532(19). “Harm”

14   is defined broadly by regulation as “an act which actually kills or injures wildlife. Such act may

15   include significant habitat modification or degradation where it actually kills or injures wildlife

16   by significantly impairing essential behavioral patterns, including breeding, feeding or

17   sheltering.” 50 C.F.R. § 222.102.

18           34.     Section 7 of the ESA imposes a substantive obligation on all federal agencies to

19   “insure that any action authorized, funded, or carried out by such agency . . . is not likely to

20   jeopardize the continued existence of any endangered or threatened species or result in the

21   destruction or adverse modification of” habitat that has been designated as critical for such species.

22   See 16 U.S.C. § 1536(a)(2) (emphasis added); Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t

23   of the Navy, 898 F.2d 1410, 1415 (9th Cir. 1990).

24           35.     ESA regulations define “[j]eopardize the continued existence of” as “to engage in

25   an action that reasonably would be expected, either directly or indirectly, to reduce appreciably

     the likelihood of both the survival and recovery of a listed species in the wild by reducing the

     reproduction, numbers, or distribution of that species.” 50 C.F.R. § 402.02. Destruction or adverse

     COMPLAINT - 10                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                         221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                        Portland, Oregon 97214        Seattle, Washington 98154
                                                            (503) 841-6515                  (206) 625-8600
 1   modification of critical habitat occurs where there is a direct or indirect alteration that appreciably

 2   diminishes the value of critical habitat for both the survival and recovery of a listed species. Id.

 3   Recovery is defined as “improvement in the status of listed species to the point at which listing is

 4   no longer appropriate.” Id.

 5           36.     When an agency (the “action agency”) determines that its proposed action “may

 6   affect listed species,” section 7(a)(2) of the ESA requires that it consult with NMFS and/or FWS

 7   (the “consulting agency”) for the species at issue using “the best scientific and commercial data

 8   available.” 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(a). This interagency consultation process

 9   is intended to assist the action agencies in complying with their substantive section 7(a)(2) duty

10   to guard against jeopardy to listed species or destruction or adverse modification of critical habitat.

11           37.     Consultation under section 7(a)(2) of the ESA requires the consulting agency to

12   review all relevant information; evaluate the current status of the listed species and/or critical

13   habitat; evaluate the effects of the action and cumulative effects on the listed species and/or critical

14   habitat; formulate a biological opinion as to whether the action, taken together with cumulative

15   effects, is likely to jeopardize the continued existence of listed species and/or result in the

16   destruction or adverse modification of critical habitat; identify reasonable and prudent alternatives

17   if such jeopardy or adverse modification is found; and formulate an incidental take statement

18   (“ITS”). 50 C.F.R. § 402.14(g); see also 16 U.S.C. § 1536(b)(3)(A), (b)(4).

19           38.     The jeopardy analysis requires the consulting agencies to consider the aggregate

20   effect of past and ongoing human activities that affect the current status of the species and its

21   habitat (“environmental baseline”); the indirect and direct effects of the proposed action, including

22   the effects of interrelated and interdependent activities (“effects of the action”); and the effects of

23   future state and private activities that are reasonably certain to occur (“cumulative effects”). 50

24   C.F.R. §§ 402.02, 402.14(g).

25           39.     The consulting agency’s biological opinion must include a summary of the

     information upon which the opinion is based, a detailed discussion of the effects of the action, and



     COMPLAINT - 11                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                         221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                        Portland, Oregon 97214        Seattle, Washington 98154
                                                            (503) 841-6515                  (206) 625-8600
 1   if jeopardy or adverse modification is found, reasonable and prudent alternatives to the action that

 2   will avoid jeopardy and/or adverse modification. 50 C.F.R. § 402.14(h).

 3          40.        If the consulting agency concludes the action will not jeopardize listed species or

 4   adversely modify their critical habitat, the consulting agency must include with the biological

 5   opinion an incidental take statement. 16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i)(1). An

 6   incidental take statement must specify the impact of the action by setting a numeric limit on take

 7   (or an appropriate surrogate if a numeric cap is impractical to establish), identify “reasonable and

 8   prudent measures” that will minimize impacts to protected species, and “terms and conditions” to

 9   implement these measures. 16 U.S.C. § 1536(b)(4)(C)(i)–(ii), (iv); 50 C.F.R. § 402.14(i)(1)(i)–

10   (ii), (iv). The incidental take statement must including monitoring and reporting requirements for

11   the incidental take resulting from the action. See 50 C.F.R. § 402.14(i)(3); Wild Fish Conservancy

12   v. Salazar, 628 F.3d 513, 531–32 (9th Cir. 2010).

13          41.        The take of a listed species in compliance with the terms of a valid incidental take

14   statement is not prohibited under Section 9 of the ESA. 16 U.S.C. § 1536(o)(2); 50 C.F.R.

15   § 402.14(i)(5).

16          42.        Section 7 of the ESA imposes a continuing duty on the agencies following

17   consultation to insure that the action will not jeopardize species. See Wild Fish Conservancy, 628

18   F.3d at 525. Agencies must reinitiate consultation for actions where “discretionary Federal

19   involvement or control over the action has been retained or is authorized by law” if, inter alia,

20   “new information reveals effects of the action that may affect listed species or critical habitat in a

21   manner or to an extent not previously considered . . . [,]” or where “a new species is listed or

22   critical habitat designated that may be affected by the identified action.” 50 C.F.R. § 402.16(a)–

23   (d).

24          2.         The National Environmental Policy Act

25          43.        The purpose of NEPA is, inter alia, to declare a national policy that will encourage

     productive and enjoyable harmony between man and his environment, to promote efforts which

     will prevent or eliminate damage to the environment and biosphere and stimulate the health and

     COMPLAINT - 12                                 KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                          221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                         Portland, Oregon 97214        Seattle, Washington 98154
                                                             (503) 841-6515                  (206) 625-8600
 1   welfare of man, and to enrich the understanding of the ecological systems and natural resources

 2   important to the Nation. 42 U.S.C. § 4321.

 3          44.     NEPA requires federal agencies to undertake processes to “insure that

 4   environmental information is available to public officials and citizens before decisions are made

 5   and before actions are taken” and that are “intended to help public officials make decisions that

 6   are based on understanding of environmental consequences.” 40 C.F.R. §§ 1500.1(b) and (c).

 7          45.     To accomplish these purposes, NEPA requires federal agencies to prepare a

 8   “detailed statement” regarding all “major Federal actions significantly affecting the quality of the

 9   human environment.” 42 U.S.C. § 4332(2)(C).

10          46.     The “detailed statement,” commonly known as an environmental impact statement

11   (“EIS”), must describe the environmental impact of the proposed action, any adverse

12   environmental effects which cannot be avoided should the proposal be implemented, alternatives

13   to the proposed action, the relationship between local short-term uses of man’s environment and

14   the maintenance and enhancement of long-term productivity, and any irreversible and irretrievable

15   commitments of resources which would be involved in the proposed action should it be

16   implemented.

17          47.     If a proposed action is neither one that normally requires an EIS or that normally

18   does not require an EIS, the agency must prepare an environmental assessment (“EA”) to

19   determine whether an EIS is required. 40 C.F.R. § 1501.4(a), (b).

20          48.     If the agency determines through the EA process that an EIS is not required for the

21   proposed action, then the agency is required to issue a finding of no significant impact (“FONSI”).

22   40 C.F.R. § 1501.4(e).

23          49.     Regulations promulgated by the Council on Environmental Quality (“CEQ”) direct

24   agencies to consider certain factors when considering whether a particular proposed action

25   requires preparation of an EIS, including, inter alia, whether the action may adversely affect an

     endangered or threatened species listed under the ESA or its critical habitat. 40 C.F.R. § 1508.27.



     COMPLAINT - 13                               KAMPMEIER & KNUTSEN PLLC            CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1             50.    NEPA further provides that agencies “shall . . . study, develop, and describe

 2   appropriate alternatives to recommended courses of action in any proposal which involves

 3   unresolved conflicts concerning alternative uses of available resources.” 42 U.S.C. § 4332(2)(E).

 4             51.    Agencies must supplement a prior EIS or EA if there are “substantial changes in

 5   the proposed action that are relevant to environmental concerns” or “significant new

 6   circumstances or information relevant to environmental concerns and bearing on the action or its

 7   impacts.” 40 C.F.R. § 1502.9(c)(1); Idaho Sporting Congress v. Thomas, 137 F.3d 1146, 1152

 8   (9th Cir. 1998), overruled on other grounds, Lands Council v. McNair, 537 F.3d 981, 997 (9th

 9   Cir. 2008). “As a rule of thumb . . . , if the EIS concerns an ongoing problem, EISs that are more

10   than 5 years old should be carefully reexamined to determine if the criteria in [the NEPA

11   regulations on supplementation] compel preparation of an EIS supplement.” Council on Envtl.

12   Quality, Forty Most Asked Questions Concerning CEQ’s National Environmental Policy Act

13   Regulations, 46 Fed. Reg. 18,026, 18,035 (Mar. 23, 1981).

14             3.     The Magnuson-Stevens Act

15             52.    The Magnuson-Stevens Act seeks to “conserve and manage the fishery resources

16   found off the coasts of the United States.” 16 U.S.C. § 1801(b)(1).

17             53.    The statute establishes exclusive federal management over fisheries within the

18   Exclusive Economic Zones of the United States. Id. § 1811(a). The Exclusive Economic Zone,

19   referred to as “federal waters,” generally consists of those waters from three nautical miles from

20   the coastline to 200 nautical miles from the coastline. See id. § 1802(11); Presidential

21   Proclamation 5030, 48 Fed. Reg. 10,605 (Mar. 14, 1983).

22             54.    The statute assigns implementation responsibilities to the Secretary of Commerce,

23   who has generally delegated responsibilities to NMFS. See, e.g., 16 U.S.C. §§ 1854, 1855(d); U.S.

24   Dep’t of Commerce, Department Organization Order 10-15, § 3.01(aa) (Dec. 12, 2011);1 U.S.

25


     1
         Available at http://www.osec.doc.gov/opog/dmp/doos/doo10_15.html.

     COMPLAINT - 14                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                         221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                        Portland, Oregon 97214        Seattle, Washington 98154
                                                            (503) 841-6515                  (206) 625-8600
 1   Dep’t of Commerce, NOAA Organizational Handbook Transmittal No. 61, Part II(C)(26).2 The

 2   statute also provides for Regional Fishery Management Councils. 16 U.S.C. § 1852(a)(1).

 3             55.     The Regional Fishery Management Councils are to prepare fishery management

 4   plans and amendments to such plans for each fishery under their respective jurisdiction and submit

 5   the plans to NMFS. Id. § 1852(h)(1). The fishery management plans must contain, inter alia,

 6   management measures necessary to prevent overfishing and that are consistent with other

 7   applicable laws. Id. § 1853(a)(1).

 8             56.     NMFS must review all fishery management plans, including amendments thereto,

 9   to determine whether they are consistent with the Magnuson-Stevens Act “and any other

10   applicable law.” Id. § 1854(a)(1)(A). The fishery management plans are to be approved,

11   disapproved, or partially approved by NMFS. Id. § 1854(a)(3).

12             57.     The Regional Fishery Management Councils are also to submit proposed

13   regulations to NMFS designed to implement the fishery management plans, which NMFS will

14   promulgate if it deems them to be consistent with the plans and other applicable laws. Id. §§

15   1853(c), 1854(b).

16             58.     The statute assigns primary responsibility in carrying out and implementing fishery

17   management plans to NMFS. See id. § 1855(d).

18             59.     The Magnuson-Stevens Act provides that a State may regulate a fishing vessel

19   outside the boundaries of the State—i.e., in the Economic Exclusive Zone—where a fishery

20   management plan delegates such authority to the State and the State’s fishing laws and regulations

21   are consistent with the fishery management plan. Id. § 1856(a)(3)(B). If NMFS determines that

22   the State’s laws or regulations do not comply with the fishery management plan, NMFS shall

23   provide the State notice and an opportunity to correct the deficiency. Id. If the inconsistency is not

24   corrected, the delegation of authority to the State “shall not apply until [NMFS] and the

25   appropriate Council find that the State has corrected the inconsistencies.” Id.


     2
         Available at http://www.corporateservices.noaa.gov/ames/delegations_of_authority/.

     COMPLAINT - 15                                  KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                           221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                          Portland, Oregon 97214        Seattle, Washington 98154
                                                              (503) 841-6515                  (206) 625-8600
 1          4.      The Administrative Procedure Act

 2          60.     The APA governs the judicial review of certain federal agency actions. 5 U.S.C.

 3   §§ 701–706.

 4          61.     Under the APA, courts shall “compel agency action unlawfully withheld or

 5   unreasonably delayed,” id. § 706(1), and “hold unlawful and set aside agency action, findings, or

 6   conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

 7   accordance with law” or made “without observance of procedure required by law.” Id.

 8   § 706(2)(A), (D). Agency action includes an agency’s “failure to act.” Id. § 551(13).

 9          62.     An agency action is “arbitrary and capricious if the agency has relied on factors

10   which Congress has not intended it to consider, entirely failed to consider an important aspect of

11   the problem, offered an explanation for its decision that runs counter to the evidence before the

12   agency, or is so implausible that it could not be ascribed to a difference in view or the product of

13   agency expertise.” Motor Vehicle Mfrs. Ass’n. v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29,

14   43 (1983).

15          63.     Under the APA, a court must also “hold unlawful and set aside” any agency action

16   taken that is “in excess of statutory jurisdiction, authority, or limitations, or short of statutory

17   right.” 5 U.S.C. § 706(2)(C).

18   B.     The Endangered and Threatened Species

19          1.      Southern Resident Killer Whales

20          64.     Southern Resident Killer Whales, also known as orcas, are charismatic black and

21   white marine mammals that are an icon of the Pacific Northwest. They are intelligent, social

22   animals that live in highly organized groups known as pods. These killer whales form strong social

23   bonds and have been observed sharing the responsibilities of caring for the young, sick, and

24   injured.

25          65.     NMFS listed the Southern Resident Killer Whales as an endangered species in

     2005. 70 Fed. Reg. 69,903 (Nov. 18, 2005); see also 50 C.F.R. § 224.101(h). Critical habitat was



     COMPLAINT - 16                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   designated for this species the following year. 71 Fed. Reg. 69,054 (Nov. 29, 2006); see also 50

 2   C.F.R. § 226.

 3          66.      This salmon-dependent whale population typically congregates in the inland

 4   waters of Puget Sound in the summer, fall, and late spring months but it also ranges all along the

 5   coast of Washington, Oregon, and California, as far south as Monterey Bay, particularly in the

 6   winter and spring in search of Chinook salmon, its preferred prey.

 7          67.      In 2008, NMFS issued a recovery plan for Southern Resident Killer Whales under

 8   section 4(f) of the ESA, 16 U.S.C. § 1533(f). The recovery plan identified prey availability as a

 9   threat to the killer whales. The plan prioritized the management of this threat through salmon

10   restoration efforts in the region, including habitat, harvest, and hatchery management

11   considerations, and the continued use of existing authorities under the ESA and Magnuson-

12   Stevens Act “to ensure an adequate prey base.” The 2008 recovery plan specified that an important

13   criteria for evaluating whether recovery has been achieved will be if NMFS has sufficient

14   knowledge of the foraging ecology of Southern Residents “to determine that established fishery

15   management regimes are not likely to limit the recovery of the whales.” The plan elaborates that

16   this would include “[f]isheries management programs that adequately account for predation by

17   marine mammal populations when determining harvest limits, hatchery practices, and other

18   parameters.”

19          68.      Today, fifteen years since their listing, and twelve years since the institution of the

20   recovery plan, the Southern Resident Killer Whale population continues to decline, and remain in

21   a perilous state. This decline is so significant that in 2016 NMFS announced that the Southern

22   Resident Killer Whale is one of eight “Species in the Spotlight,” a designation designed to call

23   special attention to marine species most likely to go extinct in the near future, unless immediate

24   action is taken. As this designation made clear, the threats that led to the whales’ initial listing

25   persist, and indeed have worsened.

            69.      In this context, federal agencies’ careful and thorough consideration of potential

     impacts to the species is of paramount importance. Indeed, in biological opinions prepared for

     COMPLAINT - 17                                KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                         221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                        Portland, Oregon 97214        Seattle, Washington 98154
                                                            (503) 841-6515                  (206) 625-8600
 1   other activities, NMFS has repeatedly concluded that “the loss of a single individual, or the

 2   decrease in reproductive capacity of a single individual, is likely to reduce the likelihood of

 3   survival and recovery of the species.” See, e.g., “Biological Opinion and Conference Opinion on

 4   the Long-Term Operations of the Central Valley Project and State Water Project” at 573 (June 4,

 5   2009).

 6            70.   Southern Resident Killer Whales are distinct from other killer whales. They are

 7   residents of the Salish Sea and have a unique dialect and diet. Their diet consists entirely of fish,

 8   primarily mature Chinook salmon.

 9            71.   The major threats that led to the Southern Resident Killer Whale’s population

10   decline and subsequent listing under the ESA are (1) the decline of salmon, their primary prey;

11   (2) noise and vessel impacts; and (3) habitat destruction and pollution including the presence of

12   toxins in the environment and in their food.

13            72.   Scientists have concluded that insufficient availability of prey is a critical factor

14   causing poor body condition, nutritional stress, and the decline of the Southern Resident Killer

15   Whale. Nutritional stress leads to fat metabolism and the subsequent release of stored toxins,

16   which can contribute to further stress and reproductive failure.

17            73.   In 2017, scientists conducted a population viability assessment that considered the

18   sub-lethal effects and cumulative impacts of contaminants, acoustic disturbance, and prey

19   abundance and tested a range of scenarios. They concluded that the effects of prey abundance on

20   fecundity and survival had the largest impact on the Southern Resident Killer Whale’s population

21   growth rate.

22            2.    Chinook Salmon

23            74.   Chinook salmon are the largest of the Pacific salmon, with some individuals

24   growing to more than 100 pounds.

25            75.   Chinook salmon are found from the Arctic, northwest to northern Paciﬁc: drainages

     from Point Hope, Alaska down to Ventura River, California. They are also found in Honshu Japan,

     the Sea of Japan, the Bering Sea and the Sea of Okhotsk.

     COMPLAINT - 18                               KAMPMEIER & KNUTSEN PLLC              CORR CRONIN, LLP
     Case No. 2:20-cv-00417                         221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                        Portland, Oregon 97214        Seattle, Washington 98154
                                                            (503) 841-6515                  (206) 625-8600
 1          76.    The Puget Sound Chinook salmon evolutionary significant unit (“ESU”) has been

 2   listed as a threatened species under the ESA since 1999. 64 Fed. Reg. 14,308 (March 24, 1999);

 3   see also 50 C.F.R. § 223.102(e).

 4          77.    The Lower Columbia River Chinook salmon ESU was listed as a threatened

 5   species in 1999. 64 Fed. Reg. 14,308 (March 24, 1999); see also 50 C.F.R. § 223.102(e).

 6          78.     The Upper Willamette River Chinook salmon ESU was also listed as threatened

 7   species in 1999. 64 Fed. Reg. 14,308 (March 24, 1999); see also 50 C.F.R. § 223.102(e).

 8          79.    The Snake River fall-run Chinook salmon ESU was listed as a threatened species

 9   in 1992. 57 Fed. Reg. 14,653 (April 22, 1992); see also 50 C.F.R. § 223.102(e).

10          80.    All four of these ESUs are failing to meet recovery standards.

11          81.    All four of these ESUs spend at least part of their life cycle in the Southern Resident

12   Killer Whale’s primary hunting grounds.

13

14

15

16

17

18

19

20

21

22

23

24
     C.     The Southeast Alaska Salmon Fisheries
25
            82.    The North Pacific Fishery Management Council (“Council”), created under the

     Magnuson-Stevens Act, is assigned certain fishery responsibilities for the Arctic Ocean, Bering


     COMPLAINT - 19                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   Sea, and Pacific Ocean seaward of Alaska. 16 U.S.C. § 1852(a)(1)(G). The Council first developed

 2   a salmon fishery management plan for Alaska in 1979 and has since issued numerous amended

 3   plans, the most recent of which was completed in 2018. Fishery Management Plan for the Salmon

 4   Fisheries in the Exclusive Economic Zone Off Alaska i–ii (Oct. 2018) (“2018 Fishery

 5   Management Plan”).

 6           83.    The 2018 Fishery Management Plan provides for two salmon fisheries: a

 7   commercial troll salmon fishery and a sport fishery. Id. at 8–9. Both fisheries are conducted in

 8   Southeast Alaska; there are no longer commercial salmon fisheries in the Western Alaska area.

 9   Id. at 9.

10           84.    The 2018 Fishery Management Plan delegates management authority over these

11   fisheries to the State of Alaska. E.g., id. at 14. NMFS, however, retains ongoing oversight

12   authority of the State of Alaska’s management of these federal fisheries. Id. at 54–58. For example,

13   the State of Alaska must provide NMFS with information on the State’s fishery management

14   measures, NMFS must determine whether the measures are consistent with the Fishery

15   Management Plan, the Magnuson-Stevens Act, and other applicable laws, and NMFS is to take

16   appropriate corrective action, if necessary. Id. NMFS also provides funds to the State of Alaska

17   to manage and monitor the fisheries.

18           85.    The commercial troll fishery harvests primarily Chinook and coho salmon,

19   although chum, sockeye, and pink salmon are also harvested. 2018 Fishery Management Plan 33.

20   The commercial Chinook salmon fishery is divided into two seasons: a winter season and a general

21   summer season; the summer season is further divided into a spring fishery and a summer fishery.

22   Id. The winter troll season is defined as October 11 through April 30 and is managed not to exceed

23   a guideline harvest level of 45,000 Chinook salmon. Id. The spring troll fishery, which begins

24   after the winter season closes, does not occur within the Exclusive Economic Zone and is not

25   subject to the Fishery Management Plan. Id. The summer troll fishery opens on July 1 and targets

     all remaining Chinook salmon available under the annual quota set pursuant to the Pacific Salmon



     COMPLAINT - 20                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   Treaty between the United States and Canada. Id. at 34. The regulatory period for coho salmon

 2   retention in the troll fishery is June 15 through September 20. Id.

 3          86.     Salmon fisheries in Alaska are also subject to the Pacific Salmon Treaty, first

 4   entered in March of 1985 between the United States and Canada to cooperate in the management,

 5   research and enhancement of Pacific salmon stocks of mutual concern. The Treaty was intended

 6   to prevent overfishing, provide for optimum production, and ensure that countries receive benefits

 7   equal to the production of salmon originating in their waters.

 8          87.     The Treaty expired in 1992, and was reauthorized in 1999, establishing 10-year

 9   fishery regimes.

10          88.     Following completion of the 1999 Pacific Salmon Treaty, NMFS prepared a

11   programmatic EIS under NEPA to evaluate, inter alia, the effects of its ongoing delegation of

12   authority to the State of Alaska to manage salmon fisheries, NMFS’s ongoing review of the State

13   of Alaska’s fishery decisions, and the effects of NMFS’s issuance of an incidental take statement

14   for the 10-year fishery regimes set in the 1999 Pacific Salmon Treaty. Final Programmatic

15   Environmental Impact Statement for Pacific Salmon Fisheries off the Coasts of Southeast Alaska,

16   Washington, Oregon, and California, and in the Columbia River Basin (Nov. 2003) (“2003

17   Programmatic EIS”); see id. at 1-6 (“The primary federal action being considered under [the North

18   Pacific Fishery Management Council’s] jurisdiction in the Southeast Alaska fishery is the annual

19   decision regarding continuing deferral of management to the State and the issuance of an

20   [incidental take statement] through the Section 7 consultation process.”).

21          89.     The current iteration of the Pacific Salmon Treaty became effective in 2019 and

22   amended Chapters 1, 2, 3, 5, 6, and Attachment E to Chapter 7 of Annex IV. Treaties and Other

23   International Acts Series 19-503. These amendments are effective from 2019 through 2028.

24   Chapter 3 of Annex IV to the 2019 Pacific Salmon Treaty defines a management regime for the

25   Chinook salmon fisheries.




     COMPLAINT - 21                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   D.     The 2019 SEAK BiOp

 2          90.     NMFS’s 2019 SEAK BiOp consulted under section 7(a)(2) of the ESA on the

 3   effects of NMFS’s ongoing management over, and delegation of authority to Alaska for, the

 4   salmon fisheries within the Exclusive Economic Zone of Southeast Alaska. This intra-agency

 5   consultation, where NMFS was both the action agency and the consulting agency, evaluated the

 6   impacts of the 10-year fishery regime established in the 2019 Pacific Salmon Treaty.

 7          91.     These fisheries harvest wild- and hatchery-origin salmon originating in rivers from

 8   Oregon to Alaska, including threated Puget Sound Chinook salmon, threatened Lower Columbia

 9   River Chinook salmon, threatened Upper Willamette River Chinook salmon, and threatened

10   Snake River fall-run Chinook salmon. The fisheries in the Exclusive Economic Zone of Southeast

11   Alaska will continue to contribute to the failure of these threatened species to meet recovery goals.

12          92.     The 2019 SEAK BiOp explains that attempts were made during the recent

13   negotiations that culminated in the current 2019 Pacific Salmon Treaty to reduce harvests to

14   conserve Puget Sound Chinook salmon and the Southern Resident Killer Whales. Those efforts

15   were unable to achieve the reductions needed to protect those species: “[T]here was a practical

16   limit to what could be achieved through the bilateral negotiation process. As a consequence, and

17   in addition to the southeast Alaska, Canada, and SUS fishery measures identified in the 2019

18   [Pacific Salmon Treaty], the U.S. Section generally recognized that more would be required to

19   mitigate the effects of harvest and other limiting factors that contributed to the reduced status of

20   Puget Sound Chinook salmon and [Southern Resident Killer Whale] . . . .” 2019 SEAK BiO at 10.

21          93.     NMFS repeatedly explains in the 2019 SEAK BiOp that the Pacific Salmon Treaty

22   merely sets an upper limit on harvest limits and that NMFS can further restrict harvests in the

23   Exclusive Economic Zone of Southeast Alaska to protect imperiled species under the ESA.

24          94.     NMFS’s 2019 SEAK BiOp nonetheless includes an incidental take statement that

25   authorizes incidental take of ESA-listed species from the fisheries in the Exclusive Economic

     Zone of Southeast Alaska in a manner that enables the full extent of Chinook salmon harvest

     allowed under the Pacific Salmon Treaty.

     COMPLAINT - 22                               KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1          95.     The 2019 SEAK BiOp does not adequately disclose or analyze the impact of the

 2   fisheries on the spawning escapement for the four threatened Chinook salmon ESUs, leaving

 3   unclear the extent to which these fisheries are harming the survival and recovery of Puget Sound

 4   Chinook salmon, Lower Columbia River Chinook salmon, Upper Willamette River Chinook

 5   salmon, and Snake River fall-run Chinook salmon.

 6          96.     The 2019 SEAK BiOp did find that the Southern Resident Killer Whale has a high

 7   risk of extinction due largely to low fecundity rates. This reduced fecundity is primarily attributed

 8   to reduced prey abundance; largely, Chinook salmon. “Under the existing management and

 9   recovery regimes over the last decade, salmon availability has not been sufficient to support

10   Southern Resident population growth.” A recent population viability assessment indicated that

11   effects of prey abundance has the largest impact on the population growth rate and that Chinook

12   abundance would need to increase by 15% to achieve the recovery target growth rate set for the

13   Southern Resident Killer Whales.

14          97.     The 2019 SEAK BiOp indicates that the fisheries in the Exclusive Economic Zone

15   of Southeast Alaska will continue to reduce Chinook salmon prey available to the Southern

16   Resident Killer Whales in various seasons and locations. The 2019 SEAK BiOp estimates such

17   reductions of prey available in coastal waters to range from 0.2% to 12.9%, with the greatest

18   reductions occurring in July through September. Reductions in the inland waters are estimated to

19   range from 0.1% to 2.5%, with the greatest reductions similarly occurring from July through

20   September. Some of the Chinook salmon caught in the fishery are identified by NMFS as priority

21   stocks for the Southern Resident Killer Whales. NMFS estimates that the fisheries in the Exclusive

22   Economic Zone of Southeast Alaska reduce the larger Chinook salmon—those from 3 to 5 years

23   old—from the Southern Resident’s critical habitat by 0.1% to 2.5%. Available data indicate that

24   Southern Residents consume mostly these larger and older Chinook salmon.

25          98.     The 2019 SEAK BiOp nonetheless concludes that the Southeast Alaska fisheries

     in federal waters are not likely to jeopardize the continued existence of the Southern Resident

     Killer Whale or result in the adverse modification or destruction of its critical habitat. The 2019

     COMPLAINT - 23                               KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                        221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                       Portland, Oregon 97214        Seattle, Washington 98154
                                                           (503) 841-6515                  (206) 625-8600
 1   SEAK BiOp similarly finds that the fisheries are not likely to jeopardize Puget Sound Chinook

 2   salmon, Lower Columbia River Chinook salmon, Upper Willamette River Chinook salmon, and

 3   Snake River fall-run Chinook salmon.

 4            99.    In reaching these conclusions, the 2019 SEAK BiOp relies on mitigation measures

 5   consisting of three funding initiatives.

 6            100.   First, NMFS proposes to provide $3.06 million per year would for Puget Sound

 7   Chinook salmon “conservation” hatcheries; specifically, there would be increased funding for

 8   existing hatchery programs on the Nooksack, Dungeness, and Stillaguamish Rivers and funding

 9   for a new program in mid-Hood Canal.

10            101.   Second, NMFS proposes to provide approximately $31.2 million for habitat

11   recovery projects intended to benefit Puget Sound Chinook salmon in the Nooksack, Dungeness,

12   and Stillaguamish Rivers and Hood Canal.

13            102.   Third, NMFS proposes to fund dramatic increases in Chinook salmon hatchery

14   production to provide a “meaningful increase”—4% to 5%—in prey availability for Southern

15   Resident Killer Whales. NMFS estimates this will cost “no less than $5.6 million per year” and

16   generate 20 million hatchery smolts each year, with five to six million released from Puget Sound

17   hatcheries and the remainder from facilities on the Columbia River and the Washington Coast. Id.

18   at 11.

19            103.   These mitigation proposals are unfunded, are to be implemented by entities over

20   whom NMFS has no control, lack any specifics or deadlines, are generally undeveloped, and

21   require reviews and authorizations that may result in the projects being denied or substantially

22   altered. The hatchery programs proposed as mitigation will themselves have harmful impacts on

23   wild salmon populations, including threatened Chinook salmon ESU’s, which NMFS has yet to

24   analyze under the ESA or NEPA; such “mitigation” may result in greater harm than benefit. The

25   mitigation measures may never be implemented or may be significantly changed from that

     contemplated in the 2019 SEAK BiOp. NMFS’s reliance on mitigation measures in the 2019

     SEAK BiOp was arbitrary, capricious, an abuse of discretion, and inconsistent with the ESA.

     COMPLAINT - 24                             KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                      221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                     Portland, Oregon 97214        Seattle, Washington 98154
                                                         (503) 841-6515                  (206) 625-8600
 1           104.     The 2019 SEAK BiOp also fails to use the best available scientific and commercial

 2   data available and it does not fully and adequately evaluate the effects of the entire action,

 3   interrelated and interdependent actions, and the cumulative actions. For example, NMFS fails to

 4   appropriately address climate change impacts and impermissibly assumes the benefits from

 5   proposed increases to hatchery production without also addressing the harmful impacts to ESA-

 6   listed species from such increases. NMFS also fails to adequately evaluate whether the fisheries

 7   will harm the Southern Resident Killer Whales by threatening the survival and recovery of

 8   Chinook salmon populations that spawn in Canadian waters, such as those in the Fraser River.

 9           105.     The 2019 SEAK BiOp does not adequately evaluate whether the Southeast Alaska

10   salmon fisheries will, directly or indirectly, reduce appreciably the likelihood of both the survival

11   and recovery of ESA-listed species in the wild by reducing the reproduction, numbers, or

12   distribution of the species.

13           106.     The 2019 SEAK BiOp does not adequately summarize the information on which

14   the opinion is based or adequately detail the effects the Southeast Alaska salmon fisheries have

15   on listed species and their critical habitat.

16           107.     NMFS failed to draw a rational connection in the 2019 SEAK BiOp between the

17   facts found and its determination that the salmon fisheries are not likely to jeopardize the

18   continued existence of ESA-listed species or result in the destruction or adverse modification of

19   their critical habitat.

20           108.     The incidental take statement included in the 2019 SEAK BiOp is legally deficient

21   because, inter alia, it does not adequately specify the impact or extent of the incidental taking of

22   species, relies on inappropriate surrogates in lieu of numeric take limits, does not include

23   appropriate reasonable and prudent measures to minimize impacts, does not include adequate

24   terms and conditions to implement reasonable and prudent measures, and does not include

25   requirements sufficient to monitor the incidental take of ESA-listed species or to trigger the

     reinitiation of consultation if the anticipated impacts are exceeded. For example, NMFS

     impermissibly set the take limit for the Southern Resident Killer Whales to be coextensive with

     COMPLAINT - 25                                  KAMPMEIER & KNUTSEN PLLC            CORR CRONIN, LLP
     Case No. 2:20-cv-00417                          221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                         Portland, Oregon 97214        Seattle, Washington 98154
                                                             (503) 841-6515                  (206) 625-8600
 1   the Southeast Alaska salmon fisheries themselves such that even if more take than anticipated

 2   occurred, the safe harbor provisions of the incidental take statement would remain in effect and

 3   there would not be an obligation to reinitiate consultation.

 4          109.    Following issuance of the 2019 SEAK BiOp, NMFS adopted and is implementing

 5   that BiOp and the incidental take statement included therewith with respect to its ongoing

 6   management over salmon fisheries in the Exclusive Economic Zone of Southeast Alaska,

 7   including NMFS’s ongoing delegation of authority and funding to the State of Alaska for

 8   management and monitoring of the fisheries. For example, the State of Alaska exercised its

 9   delegated authority on or about February 11, 2020 in setting the 2020 salmon catch limits for

10   Southeast Alaska to the full extent permitted under the 2019 Pacific Salmon Treaty.3 Consistent

11   with the 2019 SEAK BiOp, NMFS has not taken any action with respect to that announcement,

12   thereby allowing those limits to become effective under the 2018 Fishery Management Plan.

13          110.    NMFS’s issuance of the incidental take statement included in the 2019 SEAK BiOp

14   is a major federal action significantly affecting the quality of the human environment for which

15   an EIS was required under NEPA before the incidental take statement was issued; at a minimum,

16   an EA was required to evaluate whether an EIS is needed.

17          111.    NMFS’s adoption and implementation of the 2019 SEAK BiOp and the incidental

18   take statement is a major federal action significantly affecting the quality of the human

19   environment for which an EIS was required; at a minimum, an EA was required to evaluate

20   whether an EIS is needed. Notably, the incidental take statement in the 2019 SEAK BiOp requires

21   that NMFS fund initiatives for massive new hatchery programs that will significantly affect wild

22   salmonids, including ESA-listed Chinook salmon ESUs. Similarly, in adopting the 2019 SEAK

23   BiOp, NMFS has decided to exercise its authority to manage fisheries in the Exclusive Economic

24   Zone of Southeast Alaska to allow the full extent of harvest permitted under the 2019 Pacific

25   Salmon Treaty for the 10-year regime, as it has done with respect to the State of Alaska’s February

     3
      See https://www.adfg.alaska.gov/index.cfm?adfg=pressreleases.pr&release=2020_02_11; and
     https://www.adfg.alaska.gov/static/applications/dcfnewsrelease/1133944615.pdf.

     COMPLAINT - 26                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1   11, 2020 catch limit announcement, which will significantly affect Southern Resident Killer

 2   Whales.

 3              112.   There have been significant new circumstances and information relevant to

 4   environmental concerns and bearing on the salmon fisheries in the Exclusive Economic Zone of

 5   Alaska and the fisheries’ impacts since the 2013 Programmatic EIS. These include the 2019 SEAK

 6   BiOp and its incidental take statement, NMFS’s adoption of the new 10-year fishery regimes in

 7   the 2019 Pacific Salmon treaty, the listing and precipitous decline of the Southern Resident Killer

 8   Whale, studies on the cause of that decline and on the impacts of climate change, and NMFS’s

 9   massive mitigation proposals required under the 2019 SEAK BiOp.

10              113.   NMFS did not prepare a new or supplemental EIS, EA, FONSI, or any other NEPA

11   document for its issuance or adoption of the 2019 SEAK BiOp and the incidental take statement.

12                                     FIRST CAUSE OF ACTION

13                     Failure to Ensure No Jeopardy Under Section 7(a)(2) of the ESA

14              114.   Defendants Barry Thom, Chris Oliver, NMFS, Wilbur Ross, and the United States

15   Department of Commerce (collectively, “Defendants”) are violating of section 7(a)(2) of the ESA,

16   16 U.S.C. § 1536(a)(2), by adopting and implementing the 2019 SEAK BiOp and its incidental

17   take statement and by continuing to authorize and manage salmon fisheries in the Exclusive

18   Economic Zone of Alaska without ensuring that such fisheries will not jeopardize the continued

19   existence of the endangered Southern Resident Killer Whale, the threatened Puget Sound Chinook

20   salmon ESU, the threatened Lower Columbia River Chinook salmon ESU, the threatened Upper

21   Willamette River Chinook salmon ESU, and the threatened Snake River fall-run Chinook salmon

22   ESU, or destroy or adversely modify the endangered Southern Resident Killer Whale’s critical

23   habitat.

24              115.   These violations of the ESA are reviewable under section 11(g) of the ESA, 16

25   U.S.C. § 1540(g).




     COMPLAINT - 27                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1                                      SECOND CAUSE OF ACTION

 2        The 2019 SEAK BiOp is Arbitrary, Capricious, and Not in Accordance with Law

 3          116.    NMFS’s 2019 SEAK BiOp, including the incidental take statement provided

 4   therewith, does not comply with ESA standards and is arbitrary, capricious, an abuse of discretion

 5   and not in accordance with law.

 6          117.    These violations are reviewable under the APA, 5 U.S.C. §§ 701–706.

 7                                      THIRD CAUSE OF ACTION

 8    NMFS’s Failure to Conduct NEPA Analyses for Issuance/Adoption of 2019 SEAK BiOp

 9          118.    NMFS violated NEPA by issuing and/or adopting and implementing the 2019

10   SEAK BiOp and the incidental take statement included therein without preparing a new or

11   supplemental EIS. Alternatively, NMFS violated NEPA by issuing and/or adopting and

12   implementing the 2019 SEAK BiOp and the incidental take statement included therein without

13   preparing a new or supplemental EA to evaluate whether an EIS is required.

14          119.    This violation is reviewable under the APA, 5 U.S.C. §§ 701–706.

15                                        PRAYER FOR RELIEF

16          WHEREFORE, Plaintiff Wild Fish Conservancy prays for the following relief:

17          A.      Issue a declaratory judgment declaring that Defendants are in violation of section

18   7(a)(2) of the ESA by adopting and implementing the 2019 SEAK BiOp and its incidental take

19   statement and by continuing to authorize and manage salmon fisheries in the Exclusive

20   Economic Zone of Alaska without ensuring that such fisheries will not jeopardize the continued

21   existence of the endangered Southern Resident Killer Whale, the threatened Puget Sound

22   Chinook salmon ESU, the threatened Lower Columbia River Chinook salmon ESU, the

23   threatened Upper Willamette River Chinook salmon ESU, and the threatened Snake River fall-

24   run Chinook salmon ESU, or destroy or adversely modify the endangered Southern Resident

25   Killer Whale’s critical habitat;




     COMPLAINT - 28                             KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                      221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                     Portland, Oregon 97214        Seattle, Washington 98154
                                                         (503) 841-6515                  (206) 625-8600
 1           B.     Issue a declaratory judgment declaring that NMFS’s 2019 SEAK BiOp, including

 2   the incidental take statement provided therewith, does not comply with ESA standards and is

 3   arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with law;

 4           C.     Issue a declaratory judgment declaring that NMFS violated NEPA by issuing

 5   and/or adopting and implementing the 2019 SEAK BiOp and the incidental take statement

 6   included therein without preparing a new or supplemental EIS, or, alternatively, without

 7   preparing a new or supplemental EA to evaluate whether an EIS is required;

 8           D.     Issue a mandatory injunction requiring Defendants to comply with the ESA and

 9   NEPA;

10           E.     Set aside NMFS’s 2019 SEAK BiOp, including the incidental take statement

11   issued therewith;

12           F.     Enjoin NMFS from authorizing take associated with salmon fisheries in the

13   Exclusive Economic Zone of Alaska until NMFS complies with the ESA and NEPA;

14           G.     Enjoin Defendants from continuing to delegate authority to the State of Alaska to

15   manage salmon fisheries in the Exclusive Economic Zone of Alaska, from continuing to allow

16   the State of Alaska to implement salmon fisheries in the Exclusive Economic Zone of Alaska,

17   from providing funding to the State of Alaska to manage and monitor salmon fisheries in the

18   Exclusive Economic Zone of Alaska, and from otherwise continuing to allow salmon fisheries in

19   the Exclusive Economic Zone of Alaska until Defendants comply with the ESA and NEPA;

20           H.     Grant such preliminary and/or permanent injunctive relief as Wild Fish

21   Conservancy may from time to time request during the pendency and resolution of this case;

22           I.     Award Wild Fish Conservancy its reasonable litigation expenses, including

23   attorney fees, expert witness fees, Court costs, and other expenses as necessary for the

24   preparation and litigation of this case under section 11(g)(4) of the ESA, 16 U.S.C. § 1540(g)(4),

25   the Equal Access to Justice Act, 28 U.S.C. § 2412 et seq., and/or as otherwise authorized by law;

     and

             J.     Grant such additional relief as the Court deems just and proper.

     COMPLAINT - 29                              KAMPMEIER & KNUTSEN PLLC             CORR CRONIN, LLP
     Case No. 2:20-cv-00417                       221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                                      Portland, Oregon 97214        Seattle, Washington 98154
                                                          (503) 841-6515                  (206) 625-8600
 1         RESPECTFULLY SUBMITTED this 18th day of March, 2020.

 2
      KAMPMEIER & KNUTSEN, PLLC                 CORR CRONIN, LLP
 3
      By: s/ Brian A. Knutsen                   By: s/ Eric A. Lindberg
 4    Brian Knutsen, WSBA No. 38806             Eric A. Lindberg, WSBA No. 43596
      221 S.E. 11th Avenue, Suite 217           Benjamin C. Byers, WSBA No. 52299
 5                                              1001 Fourth Avenue, Suite 3900
      Portland, Oregon 97214
                                                Seattle, Washington 98154
 6    Tel: (503) 841-6515                       Tel: (206) 625-8600
      Email: brian@kampmeierknutsen.com         Email: elindberg@corrcronin.com
 7                                                      bbyers@corrcronin.com
      Paul A. Kampmeier, WSBA No. 31560
 8    811 First Avenue, Suite 468
 9    Seattle Washington 98104
      Tel: (206) 858-6983
10    Email: paul@kampmeierknutsen.com

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




     COMPLAINT - 30                       KAMPMEIER & KNUTSEN PLLC            CORR CRONIN, LLP
     Case No. 2:20-cv-00417               221 S.E. 11th Avenue, Suite 217 1001 Fourth Avenue, Suite 3900
                                              Portland, Oregon 97214        Seattle, Washington 98154
                                                  (503) 841-6515                  (206) 625-8600
EXHIBIT 1
              KAMPMEIER & KNUTSEN P L L C
                                    ATTORNEYS AT LAW
BRIAN A. KNUTSEN
Licensed in Oregon & Washington
503.841.6515
brian@kampmeierknutsen.com

                                         January 9, 2020

Via Certified Mail – Return Receipt Requested

Regional Administrator Barry Thom         Assistant Administrator for Fisheries Chris Oliver
National Marine Fisheries Service         National Marine Fisheries Service
1201 Northeast Lloyd                      1315 East-West Highway
Portland, OR 97232                        Silver Spring, MD 20910
Email: barry.thom@noaa.gov                Email: chris.w.oliver@noaa.gov

National Marine Fisheries Service          U.S. Department of Commerce
1315 East-West Highway                    1401 Constitution Ave. N.W.
Silver Spring, MD 20910                   Washington, D.C. 20230

Secretary Wilbur L. Ross, Jr.
U.S. Department of Commerce
1401 Constitution Ave. N.W.
Washington, D.C. 20230

RE:        Notice of Intent to Sue U.S. Department of Commerce and National Marine
           Fisheries Service for Failing to Ensure that their Authorization of the Southeast
           Alaska Salmon Fisheries does not Jeopardize the Continued Existence of the
           Southern Resident Killer Whale and Four Chinook Salmon Species

Dear Honorable Civil Servants:

         This letter provides notice of Wild Fish Conservancy’s (“Conservancy”) intent to sue
the United States Department of Commerce and its Secretary (collectively, “Commerce”) and
the National Marine Fisheries Service, its Assistant Administer for Fisheries, and its West
Coast Regional Administrator (collectively, “NMFS”) for violations of section 7 of the
Endangered Species Act (“ESA”).1 Commerce and NMFS are violating section 7 of the ESA
by failing to ensure that the salmon fisheries in the Exclusive Economic Zone of Southeast
Alaska are not likely to jeopardize the continued existence of the Southern Resident Killer
Whale, Puget Sound Chinook salmon, Lower Columbia River Chinook salmon, Upper
Willamette River Chinook salmon, and Snake River fall-run Chinook salmon or destroy or
adversely modify the Southern Resident Killer Whale’s critical habitat. This letter is provided
under section 11(g) of the ESA.2 If the ESA violations described herein are not remedied
before the expiration of the sixty day notice period, the Conservancy intends thereafter to file
suit to protect these species.
1
    16 U.S.C. § 1536.
2
    Id. § 1540(g).
I.      Legal Framework.

        When the ESA was passed in 1973 it “represented the most comprehensive legislation
for the preservation of endangered species ever enacted by any nation.”3 The purpose of the
statute is to conserve threatened and endangered species and to protect the ecosystems upon
which those species depend.4

       The ESA assigns implementation responsibilities to the Secretaries for Commerce and
the U.S. Department of Interior, who have delegated duties to NMFS and the United States
Fish and Wildlife Service (“FWS”), respectively.5 NMFS generally has ESA authority for
marine and anadromous species, while FWS has jurisdiction over terrestrial and freshwater
species.6

        Section 4 of the ESA prescribes mechanisms by which NMFS and FWS list species as
endangered or threatened and designate “critical habitat” for such species.7 Species is defined
to include “any distinct population segment of any vertebrate species that interbreeds when
mature.”8 Section 9 of the ESA makes it unlawful to “take” ESA-listed species.9 “Take” is
defined broadly to include harass, harm, wound, kill, trap, or capture a protected species.10

        Section 7 of the ESA imposes a substantive obligation on each federal agency to
“insure that any action authorized, funded, or carried out by such agency . . . is not likely to
jeopardize the continued existence of any endangered or threatened species or result in the
destruction or adverse modification of” habitat that has been designated as critical for such
species.11 Jeopardy results where an action reasonably would be expected, directly or
indirectly, to reduce appreciably the likelihood of both the survival and recovery of a listed
species in the wild by reducing the reproduction, numbers, or distribution of that species.12
Destruction or adverse modification of critical habitat occurs where there is a direct or
indirect alteration that appreciably diminishes the value of critical habitat for both the survival
and recovery of a listed species.13

       In fulfilling the substantive mandates of section 7 of the ESA, federal agencies
planning to fund, authorize, or undertake an action (the “action agency”) that “may affect”
ESA-listed species or their critical habitat are required to consult with NMFS (the “consulting
agency”) regarding the effects of the proposed action.14 Formal consultation concludes with

3
  Tenn. Valley Auth. v. Hill, 437 U.S. 153, 180 (1978).
4
  16 U.S.C. § 1531(b).
5
  See 50 C.F.R. § 402.01(b).
6
  See id. §§ 17.11, 223.102, 224.101.
7
  16 U.S.C. §§ 1532(16), 1533(a).
8
  50 C.F.R. § 424.02.
9
  See 16 U.S.C. § 1538(a)(1)(B); 50 C.F.R. § 223.203(a).
10
   16 U.S.C. § 1532(19).
11
   See id. § 1536(a)(2) (emphasis added); Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t of the Navy, 898
F.2d 1410, 1415 (9th Cir. 1990).
12
   50 C.F.R. § 402.02.
13
   Id.
14
   Id. § 402.14(a).



Notice of Intent to Sue for ESA Violations - 2
NMFS’s issuance of a biological opinion determining whether the action is likely to
jeopardize ESA-protected species or result in the destruction or adverse modification of
critical habitat.15 If NMFS determines that jeopardy is not likely, or that reasonable and
prudent alternatives to the proposed action will avoid jeopardy and that any taking of listed
species incidental to the proposed action will not violate section 7(a)(2) of the ESA, NMFS
must issue an incidental take statement with its biological opinion.16 The incidental take
statement includes reasonable and prudent measures considered by NMFS as necessary or
appropriate to minimize impacts on ESA listed species.17

        Federal agencies have a continuing duty under section 7 of the ESA after consultation
is concluded to insure that their actions will not jeopardize the continued existence of listed
species or destroy or adversely modify designated critical habitat. The agencies must reinitiate
consultation whenever “the amount or extent of taking specified in the incidental take
statement is exceeded,” “new information reveals effects of the action that may affect listed
species or critical habitat in a manner or to an extent not previously considered,” where the
action in question is “subsequently modified in a manner that causes an effect to the listed
species or critical habitat that was not considered in the biological opinion,” or where “a new
species is listed or critical habitat designated that may be affected by the identified action.”18
“The duty to reinitiate consultation lies with both the action agency and the consulting
agency.”19

II.     Factual Background.

        A.       Affected Species and its Critical Habitat.

        NMFS listed the Southern Resident Killer Whale distinct population segment as an
endangered species under the ESA in 2005.20 Critical habitat was designated for this species
the following year.21 NMFS is currently proposing a rule that would expand critical habitat for
the endangered Southern Resident Killer Whale.22

        “[T]he Southern Resident [Killer Whale] population has declined to historically low
levels.”23 The three pods that make up this species—the J, K, and L pods—consist of only 74
whales as of December 2018.24 “There are currently 26 reproductive age females (aged 11–42



15
   Id. § 402.14(h)(3).
16
   16 U.S.C. § 1536(b)(4).
17
   Id. § 1536(b)(4)(C)(ii); 50 C.F.R § 402.14(i)(1)(ii).
18
   50 C.F.R. § 402.16(a)–(d).
19
   Salmon Spawning & Recovery Alliance v. Gutierrez, 545 F.3d 1220, 1229 (9th Cir. 2008).
20
   70 Fed. Reg. 69,903 (Nov. 18, 2005).
21
   71 Fed. Reg. 69,054 (Nov. 29, 2006).
22
   84 Fed. Reg. 49,214 (Sept. 19, 2019).
23
   Endangered Species Act (ESA) Section 7(a)(2) Biological Opinion and Magnuson-Stevens Fishery
Conservation and Management Act Essential Fish Habitat Response, Consultation on the Delegation of
Management Authority for Specified Salmon Fisheries to the State of Alaska, NMFS Consultation Number:
WCR-2018-10660, p. 84 (April 5, 2019) (“2019 SEAK BiOp”).
24
   Id.



Notice of Intent to Sue for ESA Violations - 3
years), of which only 14 have successfully reproduced in the last 10 years, and there have
been no viable calves since the beginning of 2016.”25

        A primary limiting factor for this species is prey availability.26 In addition to
contributing to premature mortality, limited prey availability reduces fecundity of Southern
Resident Killer Whales.27 Southern Resident females are producing a low number of
surviving calves over the course of their reproductive life span, with late onset of sexual
maturity and a long average reproductive interval of 6.1 years.28 “[T]his reduced fecundity is
largely due to nutritional limitation.”29 Indeed, a recent population viability assessment found
that “the effects of prey abundance on fecundity and survival had the largest impact on the
population growth rate” for this species.30

        While Southern Resident Killer Whales consume a variety of fish species and one
species of squid, Chinook salmon are their primary prey.31 Available data indicate that salmon
and steelhead make up to 98 percent of the whales’ diet.32 Moreover, the whales consume
mostly larger (i.e., older) Chinook salmon; with upwards of around 80 to 90 percent of the
species’ diet consisting of Chinook salmon.33 This preference for Chinook salmon persists
despite much lower abundance than other salmonids in some areas and during certain
periods.34

       The Puget Sound Chinook salmon evolutionary significant unit (“ESU”), the Lower
Columbia River Chinook salmon ESU, and the Upper Willamette River Chinook salmon ESU
were each listed as threatened species in 1999.35 NMFS listed the Snake River fall-run
Chinook salmon ESU as a threatened species in 1992.36 NMFS has applied the ESA’s take
prohibition to each of these four Chinook salmon ESUs.37

        B.       Commerce’s and NMFS’s Management of Salmon Fisheries in the
                 Exclusive Economic Zone of Southeast Alaska.

        The Magnuson-Stevens Fishery Conservation and Management Act (“Magnuson-
Stevens Act”) was enacted to “conserve and manage the fishery resources found off the coasts
of the United States.38 The statute establishes exclusive federal management over fisheries

25
   Id. at 242.
26
   Id. at 90.
27
   Id. at 84, 94–95, 242.
28
   Id. at 84.
29
   Id.
30
   Id. at 86.
31
   Id. at 90–91.
32
   Id. at 91.
33
   Id.
34
   Id.
35
   64 Fed. Reg. 14,308 (March 24, 1999); see also 70 Fed. Reg. 37,160 (June 28, 2005); 79 Fed. Reg. 20,802
(April 14, 2014); 50 C.F.R. § 223.102(e).
36
   57 Fed. Reg. 14,653 (April 22, 1992); see also 70 Fed. Reg. 37,160 (June 28, 2005); 79 Fed. Reg. 20,802
(April 14, 2014); 50 C.F.R. § 223.102(e).
37
   See 50 C.F.R. § 223.203(a).
38
   16 U.S.C. § 1801(b)(1).



Notice of Intent to Sue for ESA Violations - 4
within the Exclusive Economic Zones of the United States.39 The Exclusive Economic Zone,
sometimes referred to as “federal waters,” generally consists of those waters from 3 nautical
miles from the coastline to 200 nautical miles from the coastline.40

        The statute assigns various implementation responsibilities to the Secretary of
Commerce.41 The Secretary has generally delegated such responsibilities to NMFS, a division
of the National Oceanic and Atmospheric Administration, which is itself an agency within the
U.S. Department of Commerce.42 The Magnuson-Stevens Act also provides for the creation of
Regional Fishery Management Councils, including the North Pacific Fishery Management
Council.43

         The Councils are to prepare fishery management plans and amendments to such plans
for each fishery under their respective jurisdiction and submit the plans to NMFS.44 The
fishery management plans must contain, inter alia, management measures necessary to
prevent overfishing and that are consistent with other applicable laws.45 NMFS must review
all fishery management plans, including amendments thereto, to determine whether they are
consistent with the Magnuson-Stevens Act “and any other applicable law.”46 The fishery
management plans are to be approved, disapproved, or partially approved by NMFS.47 The
statute also directs the Councils to submit proposed regulations to NMFS to implement the
fishery management plans, which NMFS will promulgate if it deems them to be consistent
with the plans and other applicable laws.48 The statute assigns primary responsibility in
carrying out and implementing fishery management plans to NMFS.49

       The Fishery Management Plan for the Salmon Fisheries in the Exclusive Economic
Zone Off Alaska, developed by the North Pacific Fishery Management Council, provides for
two salmon fisheries: a commercial troll salmon fishery and a sport fishery.50 Both fisheries
are conducted in Southeast Alaska; there are no longer commercial salmon fisheries in the
Western Alaska area.51 The Fishery Management Plan has been amended numerous times,
most recently in October 2018, and approved by NMFS.52 The Fishery Management Plan
delegates management authority over these fisheries in the Exclusive Economic Zone of

39
   Id. at § 1811(a).
40
   See id. at § 1802(11); Presidential Proclamation 5030 (March 10, 1983); 48 Fed. Reg. 10,605 (March 14,
1983).
41
   See, e.g., id. at §§ 1854, 1855(d).
42
   See U.S. Dep’t of Commerce, Department Organization Order 10-15, § 3.01(aa) (Dec. 12, 2011), available at
http://www.osec.doc.gov/opog/dmp/doos/doo10_15.html; U.S. Dep’t of Commerce, NOAA Organizational
Handbook Transmittal No. 61, Part II(C)(26), available at
http://www.corporateservices.noaa.gov/ames/delegations_of_authority/.
43
   Id. at § 1852(a)(1)(F).
44
   Id. at § 1852(h)(1).
45
   Id. at § 1853(a)(1).
46
   Id. at § 1854(a)(1)(A).
47
   Id. at § 1854(a)(3).
48
   Id. at §§ 1853(c), 1854(b).
49
   See id. at § 1855(d).
50
   Fishery Management Plan for the Salmon Fisheries in the Exclusive Economic Zone Off Alaska 8–9 (Oct.
2018) (“2018 Fishery Management Plan”).
51
   Id. at 9.
52
   E.g., id. at 1–5; 2019 SEAK BiOp 6.



Notice of Intent to Sue for ESA Violations - 5
Southeast Alaska to the State of Alaska.53 NMFS, however, retains ongoing oversight
authority of the State of Alaska’s management of these federal fisheries.54 The State of Alaska
must provide NMFS with information on the State’s fishery management measures, NMFS
must determine whether the measures are consistent with the Fishery Management Plan, the
Magnuson-Stevens Act, and other applicable laws, and NMFS is to take appropriate
corrective action, if necessary.55 NMFS also provides funds to the State of Alaska to manage
and monitor the fisheries.56

        The commercial troll fishery harvests primarily Chinook and coho salmon, although
chum, sockeye, and pink salmon are also harvested.57 The commercial Chinook salmon
fishery is divided into two seasons: a winter season and a general summer season; the summer
season is further divided into a spring fishery and a summer fishery.58 The winter troll season
is defined as October 11 through April 30 and is managed not to exceed a guideline harvest
level of 45,000 Chinook salmon.59 The spring troll fishery, which begins after the winter
season closes, does not occur within the Exclusive Economic Zone and is not subject to the
Fishery Management Plan.60 The summer troll fishery opens on July 1 and targets all
remaining Chinook salmon available under the annual quota set pursuant to the Pacific
Salmon Treaty between the United States and Canada.61 The regulatory period for coho
salmon retention in the troll fishery is June 15 through September 20.62

        C.       NMFS’s 2019 Biological Opinion on Southeast Alaska Salmon Fisheries.

         NMFS recently prepared a biological opinion to consider the effects of its ongoing
management over, and delegation of authority to Alaska for, the salmon fisheries within the
Exclusive Economic Zone of Southeast Alaska: the Endangered Species Act (ESA) Section
7(a)(2) Biological Opinion and Magnuson-Stevens Fishery Conservation and Management
Act Essential Fish Habitat Response, Consultation on the Delegation of Management
Authority for Specified Salmon Fisheries to the State of Alaska, NMFS Consultation Number:
WCR-2018-10660 (April 5, 2019) (“2019 SEAK BiOp”). Those fisheries harvest wild- and
hatchery-origin salmon originating in rivers from Oregon to Alaska, including Puget Sound
Chinook salmon, Lower Columbia River Chinook salmon, Upper Willamette River Chinook
salmon, and Snake River fall-run Chinook salmon.63 These four Chinook salmon ESU’s are
failing to meet recovery standards, including those set for spawning escapement, and the
fisheries in the Exclusive Economic Zone of Southeast Alaska will continue to contribute to
that failure.


53
   E.g., 2018 Fishery Management Plan 14.
54
   E.g., id. at 54–58
55
   Id. at 54–58.
56
   2019 SEAK BiOp 6.
57
   2018 Fishery Management Plan 33.
58
   Id.
59
   Id.
60
   Id.
61
   Id. at 34.
62
   Id.
63
   See, e.g., 2019 SEAK BiOp 12.



Notice of Intent to Sue for ESA Violations - 6
       The 2019 SEAK BiOp explains that attempts were made during the recent
negotiations that culminated in the current iteration of the Pacific Salmon Treaty, entered into
in 2019 between the United States and Canada, to reduce harvests to conserve Puget Sound
Chinook salmon and the Southern Resident Killer Whale.64 Those efforts were unable to
achieve the reductions needed to protect those species:

         [T]here was a practical limit to what could be achieved through the bilateral
         negotiation process. As a consequence, and in addition to the southeast Alaska,
         Canada, and SUS fishery measures identified in the 2019 [Pacific Salmon
         Treaty], the U.S. Section generally recognized that more would be required to
         mitigate the effects of harvest and other limiting factors that contributed to the
         reduced status of Puget Sound Chinook salmon and [Southern Resident Killer
         Whales] . . . .65

NMFS repeatedly explains in the 2019 SEAK BiOp that the Pacific Salmon Treaty merely
sets an upper limit on harvest limits and that NMFS can further restrict harvests in the
Exclusive Economic Zone of Southeast Alaska to protect imperiled species under the ESA.66
NMFS nonetheless continues to authorize and manage the fisheries in the Exclusive
Economic Zone of Southeast Alaska in a manner that enables the full extent of Chinook
salmon harvest allowed under the Pacific Salmon Treaty.

       Unfortunately, the 2019 SEAK BiOp does not adequately disclose or analyze the
impact of the fisheries on the spawning escapement for the four threatened Chinook salmon
ESU’s. It is therefore unclear in the 2019 SEAK BiOp the extent to which these fisheries are
harming the survival and recovery of Puget Sound Chinook salmon, Lower Columbia River
Chinook salmon, Upper Willamette River Chinook salmon, and Snake River fall-run Chinook
salmon.

        NMFS’s 2019 SEAK BiOp found that the Southern Resident Killer Whale has a high
risk of extinction due largely to low fecundity rates.67 This reduced fecundity is primarily
attributed to reduced prey abundance; primarily, Chinook salmon.68 “Under the existing
management and recovery regimes over the last decade, salmon availability has not been
sufficient to support Southern Resident population growth.”69 A recent population viability
assessment indicated that effects of prey abundance has the largest impact on the population
growth rate and that Chinook abundance would need to increase by 15% to achieve the
recovery target growth rate set for the Southern Resident Killer Whale.70

      The 2019 SEAK BiOp indicates that the fisheries in the Exclusive Economic Zone of
Southeast Alaska will continue to reduce Chinook salmon prey available to the Southern


64
   Id. at 9–10.
65
   Id. at 10.
66
   E.g., id. at 2, 20
67
   E.g., id. at 84–86, 242.
68
   Id. at 84, 242.
69
   Id. at 311.
70
   Id. at 86, 311.



Notice of Intent to Sue for ESA Violations - 7
Resident Killer Whale in various seasons and locations.71 NMFS estimates such reductions of
prey available in coastal waters to range from 0.2% to 12.9%, with the greatest reductions
occurring in July through September.72 Reductions in the inland waters are estimated to range
from 0.1% to 2.5%, with the greatest reductions similarly occurring from July through
September.73 Some of the Chinook salmon caught in the fishery are identified by NMFS as
priority stocks for the Southern Resident Killer Whale.74 NMFS estimates that the fisheries in
the Exclusive Economic Zone of Southeast Alaska reduce the larger Chinook salmon—those
from 3 to 5 years old—from the Southern Resident’s critical habitat by 0.1% to 2.5%.75
Available data indicate that Southern Resident Killer Whales consume mostly these larger and
older Chinook salmon.76

        NMFS’s 2019 SEAK BiOp nonetheless concludes that the Southeast Alaska fisheries
are not likely to jeopardize the continued existence of the Southern Resident Killer Whale or
result in the adverse modification or destruction of its critical habitat.77 NMFS similarly found
that the fisheries are not likely to jeopardize Puget Sound Chinook salmon, Lower Columbia
River Chinook salmon, Upper Willamette River Chinook salmon, and Snake River fall-run
Chinook salmon.78 In reaching these conclusions, NMFS relies on mitigation in the form of
funding proposed for increased hatchery production and habitat restoration, both of which are
supposed to eventually increase salmon, including Puget Sound Chinook salmon, available to
the Southern Resident Killer Whale.79 However, no decisions have been made as to location,
timing, or scope of these supposed mitigation efforts, required authorizations have not been
issued, and there is uncertainty as to whether Congress will fund them.80 Moreover, the
hatchery programs proposed as mitigation will themselves have harmful impacts on wild
salmon populations, including the four threatened Chinook salmon ESU’s, which NMFS has
yet to analyze; such “mitigation” may result in greater harm than benefit.

         Additionally, even though the 2019 SEAK BiOp acknowledges that “salmon
availability has not been sufficient to support Southern Resident population growth,”81 the
mitigation effects “will not take place for at least four to five years.”82 Instead of accounting
for this delay in mitigation, and the un-mitigated reduction in prey availability during the first
few years of the proposed action, the 2019 SEAK BiOp does not anticipate heightened
negative impacts during the first few years of the proposed action.83 As the Southern Resident
Killer Whales continue to be adversely affected by prey availability, Commerce and NMFS
have failed to announce the location, timing, or scope of the supposed mitigation and delayed
effects.

71
   E.g., id. at 244.
72
   Id. at 247–48.
73
   Id. at 248.
74
   Id. at 251–53.
75
   Id. at 315.
76
   Id. at 91.
77
   Id. at 310–16, 325.
78
   Id. at 298, 302, 305, 309.
79
   Id. at 305–16.
80
   See, e.g., id. at 11, 255.
81
   Id. at 311.
82
   Id. at 11.
83
   Id. at 314–16.



Notice of Intent to Sue for ESA Violations - 8
       NMFS provided an incidental take statement with the 2019 SEAK BiOp allowing take
of Southern Resident Killer Whales, Puget Sound Chinook salmon, Lower Columbia River
Chinook salmon, Upper Willamette River Chinook salmon, Snake River fall-run Chinook
salmon, and two other species resulting from the Southeast Alaska fisheries.84

III.     Commerce’s and NMFS’s Violations of the ESA.

        Commerce and NMFS are in violation of section 7(a)(2) of the ESA for failing to
insure that their ongoing actions on the Southeast Alaska salmon fisheries are not likely to
jeopardize the endangered Southern Resident Killer Whale, Puget Sound Chinook salmon,
Lower Columbia River Chinook salmon, Upper Willamette River Chinook salmon, and Snake
River fall-run Chinook salmon or destroy or adversely modify the Southern Resident Killer
Whale’s critical habitat. Such actions include all those by Commerce and NMFS authorizing,
managing, funding, and enabling the salmon fisheries in the Exclusive Economic Zone of
Southeast Alaska, including: (1) implementation, funding, and oversight of the Fishery
Management Plan for the Salmon Fisheries in the Exclusive Economic Zone Off Alaska; (2)
delegation of management over the fisheries to the State of Alaska; and (3) issuance of an
incidental take statement with the 2019 SEAK BiOp authorizing take from the fisheries.

        Commerce and NMFS are in violation of their substantive obligation under Section 7
of the ESA to insure that their actions on the Southeast Alaska salmon fisheries do not
jeopardize ESA-listed species or adversely modify their critical habitat.85 The agencies cannot
abrogate this obligation merely by relying on a biological opinion; rather, their decision to
rely on NMFS’s 2019 SEAK BiOp must not itself be arbitrary or capricious.86 The 2019
SEAK BiOp is legally deficient in manners that are readily discernable and Commerce and
NMFS’s reliance on that biological opinion is therefore itself arbitrary and capricious.87 Some
of those legal deficiencies are summarized below; however, this description in not meant to be
exhaustive.

        Perhaps the most egregious deficiency with the 2019 SEAK BiOp is NMFS’s reliance
on supposed future mitigation—funding for increases in hatchery production and habitat
restoration—that is entirely speculative, undefined, and that does not adequately address the
immediate threats to protected species from the Southeast Alaska fisheries.88 The 2019 SEAK
BiOp also fails to use the best available scientific and commercial data available and it does
not fully and adequately evaluate the effects of the entire action, interrelated and
interdependent actions, and the cumulative actions. For example, NMFS fails to appropriately
address climate change impacts and impermissibly assumes the benefits from proposed
increases to hatchery production without also addressing the harmful impacts to ESA-listed
species from such increases. NMFS also fails to adequately evaluate whether the fisheries will
84
   Id. at 325–32.
85
   See 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.02; Pyramid Lake Paiute Tribe of Indians, 898 F.2d at 1415.
86
   See Pyramid Lake Paiute Tribe of Indians, 898 F.2d at 1415.
87
   See Wild Fish Conservancy v. Salazar, 628 F.3d 513, 532 (9th Cir. 2010).
88
   See, e.g., Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 524 F.3d 917, 935–36 (9th Cir. 2008) (“absent
specific and binding plans,” proposed mitigation may not be considered to offset “certain immediate negative
effects”).



Notice of Intent to Sue for ESA Violations - 9
harm the Southern Resident Killer Whale by threatening the survival and recovery of Chinook
salmon populations that spawn in Canadian waters, such as those in the Fraser River. The
2019 SEAK BiOp does not adequately evaluate whether the Southeast Alaska salmon
fisheries will, directly or indirectly, reduce appreciably the likelihood of both the survival and
recovery of ESA-listed species in the wild by reducing the reproduction, numbers, or
distribution of the species. The 2019 SEAK BiOp does not adequately summarize the
information on which the opinion is based or adequately detail the effects the Southeast
Alaska salmon fisheries have on listed species and their critical habitat. NMFS failed to draw
a rational connection between the facts found and its determination that the salmon fisheries
are not likely to jeopardize the continued existence of ESA-listed species or result in the
destruction or adverse modification of their critical habitat.

         The incidental take statement included in the 2019 SEAK BiOp is legally deficient
because, inter alia, it does not adequately specify the impact or extent of the incidental taking
of species, relies on inappropriate surrogates in lieu of numeric take limits, does not include
appropriate reasonable and prudent measures to minimize impacts, does not include adequate
terms and conditions to implement reasonable and prudent measures, and does not include
requirements sufficient to monitor the incidental take of ESA-listed species or to trigger the
reinitiation of consultation if the anticipated impacts are exceeded. For example, NMFS
impermissibly set the take limit for the Southern Resident Killer Whale to be coextensive with
the Southeast Alaska salmon fisheries themselves such that even if more take than anticipated
occurred, the safe harbor provisions of the incidental take statement would remain in effect
and there would not be an obligation to reinitiate consultation.89 The incidental take statement
was also issued without compliance with the National Environmental Policy Act; i.e., without
preparing or supplementing an environmental assessment, a finding of no significant impact,
an environmental impact statement, or an alternative analysis.

       In sum, Commerce and NMFS have failed to insure that their actions on the Southeast
Alaska salmon fisheries are not likely to jeopardize the continued existence of the Southern
Resident Killer Whale, Puget Sound Chinook salmon, Lower Columbia River Chinook
salmon, Upper Willamette River Chinook salmon, and Snake River fall-run Chinook salmon,
or adversely modify or destroy the Southern Resident Killer Whale’s critical habitat.

IV.        Party Giving Notice of Intent to Sue.

           The full name, address, and telephone number of the party giving notice is:

                            Wild Fish Conservancy
                            15629 Main Street N.E.
                            P.O. Box 402
                            Duvall, WA 98019
                            Tel: (425) 788-1167




89
     See 2019 SEAK BiOp 327; Or. Natural Res. Council v. Allen, 476 F.3d 1031, 1039–40 (9th Cir. 2007).



Notice of Intent to Sue for ESA Violations - 10
